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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

                                             CASE NO.

VICTOR ARIZA,

       Plaintiff,

vs.

GODWIN’S GATORLAND, INC.,
d/b/a GATORLAND, a Florida
for-profit corporation,

      Defendant.
__________________________________/

                                           COMPLAINT

       Plaintiff VICTOR ARIZA, through undersigned counsel, sues Defendant GODWIN’S

GATORLAND, INC., d/b/a GATORLAND, a Florida for-profit corporation, and alleges as

follows:

       1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

This is also an action for declaratory and injunctive relief to prevent the continuing act of trespass

against the Plaintiff’s personal property (his personal computer and its hard drive), and for

compensatory damages to Plaintiff for such trespass. Remedies provided under common law for

trespass are not exclusive and may be sought in connection with suits brought under the ADA.

       2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief




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pursuant to 28 U.S.C. §§2201 and 2202. In addition, this Court has supplementary jurisdiction

over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

       3.      Venue is proper in this Court as all actions complained of herein and injuries and

damages suffered occurred in the Middle District of Florida.

       4.      Plaintiff VICTOR ARIZA is a resident of Miami-Dade County, Florida, is sui juris,

and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

(“ADAAA”). Although Plaintiff resides in Miami-Dade County, Florida, he frequently travels to

and stays with friends in the Orlando, Florida area, specifically at 4143 Flying Fortress Avenue,

Kissimmee, Florida, and at other times stays at the Econolodge in Kissimmee, Florida. His most

recent trip to the Orlando area was in mid-February 2024, and he intends to continue to regularly

revisit the area, including making trips as early as April 2024.

       5.      Plaintiff is and at all relevant times has been blind and visually disabled in that he

suffers from optical nerve atrophy, a permanent eye and medical condition that substantially and

significantly impairs his vision and limits his ability to see. Plaintiff thus is substantially limited

in performing one or more major life activities, including, but not limited to, seeing, accurately

visualizing his world, and adequately traversing obstacles. As such, he is a member of a protected

class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth

at 28 CFR §§36.101, et seq., and 42 U.S.C. §3602(h). Plaintiff further is an advocate of the rights

of similarly situated disabled persons and is a “tester” for the purposes of asserting his civil rights

and monitoring, ensuring, and determining whether places of public accommodation and/or their

respective and associated websites are in compliance with the ADA and any other applicable

disability laws, regulations, and ordinances.




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       6.      Because he is blind, Plaintiff cannot use his computer without the assistance of

appropriate and available auxiliary aids, screen reader software, and other technology and

assistance. Screen reader software translates the visual internet into an auditory equivalent. At a

rapid pace, the software reads the content of a webpage to the user. “The screen reading software

uses auditory cues to allow a visually impaired user to effectively use websites. For example, when

using the visual internet, a seeing user learns that a link may be ‘clicked,’ which will bring him to

another webpage, through visual cues, such as a change in the color of the text (often text is turned

from black to blue).When the sighted user's cursor hovers over the link, it changes from an arrow

symbol to a hand. The screen reading software uses auditory -- rather than visual -- cues to relay

this same information. When a sight impaired individual reaches a link that may be ‘clicked on,’

the software reads the link to the user, and after reading the text of the link says the word

‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the visually

impaired user can navigate a website by listening and responding with his keyboard.” Andrews v.

Blick Art Materials, LLC, 286 F.Supp.3d 365, 374 (E.D.N.Y.2017).

       7.      Defendant is a Florida for-profit corporation authorized to do business and doing

business in the State of Florida. Defendant owns, operates, and/or controls a theme park offering

family entertainment in the form of a petting zoo, an aviary, animal shows, and other activities, as

well as a related gift shop offering Defendant’s merchandise, both of which are located at 14501

South Orange Blossom Trail, Orlando, Florida and which Plaintiff intended to patronize in the

near future and as early as April 2024.

       8.      Plaintiff’s blindness limits him in the performance of major life activities, including

sight, and he requires assistive technologies, auxiliary aids, and services for effective

communication, including communication in connection with his use of a computer.



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       9.      Plaintiff frequently accesses the internet. Because he is blind, to effectively

communicate and comprehend information available on the internet and thereby access and

comprehend websites, Plaintiff uses commercially available screen reader software to interface

with the various websites.

       10.     At all times material hereto, Defendant was and still is an organization that owns,

operates, and/or controls a theme park and related gift shop under the name “Gatorland”. The

“Gatorland” theme park and gift shop are open to the public. As the owner, operator, and controller

of this physical theme park and gift shop, Defendant is defined as a place of “public

accommodation" within meaning of the ADA because Defendant is a private entity that owns,

operates, and/or controls “a park, zoo, amusement park, or other place of recreation,” per 42 U.S.C.

§12181(7)(I) and 28 C.F.R. §36.104, and also a private entity that owns, operates, and/or controls

“a bakery, grocery store, clothing store, hardware store, shopping center, or other sales or rental

establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104.

       11.     Because Defendant is a theme park open to the public, Defendant’s physical theme

park and related gift shop are places of public accommodation subject to the requirements of the

ADA, 42 U.S.C. §12182, §12181(7)(I) and (E), and its implementing regulations, 28 C.F.R. Part

36.

       12.     Defendant also owns, controls, maintains, and/or operates an adjunct website,

https://www.gatorland.com (the “Website”). One of the functions of the Website is to provide the

public information on the location of Defendant’s physical theme park and gift shop. Defendant

also sells to the public its theme park tickets and passes and its related and branded merchandise

through the Website, which acts as a critical point of sale for Defendant’s tickets, passes, and

related and branded merchandise that are also available for purchase in, from, and through



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Defendant’s physical theme park location. In addition, the Website allows the public to purchase

photos and videos taken on visits to the physical theme park, obtain exclusive coupons to be used

towards purchases of Defendant's tickets/passes, submit an electronic form to inquire about and

book group events, submit an electronic contact form to get in contact with and/or be contacted by

the physical theme park, fill out and sign an electronic liability waiver form required for some

events and experiences at the physical theme park, and sign up for a newsletter/emailer to receive

exclusive online offers, benefits, invitations, and discounts for use online and in the physical theme

park.

        13.    The Website also services Defendant’s physical theme park and gift shop by

providing information on available products, services, tips and advice, editorials, sales campaigns,

events, and other information that Defendant is interested in communicating to its customers.

        14.    Because the Website allows the public the ability to secure information about the

location of Defendant’s physical theme park and gift shop, purchase tickets, passes, and

merchandise that are also available for purchase in, from, and through the physical park and gift

shop, purchase photos and videos taken on visits to the physical theme park, obtain exclusive

coupons to be used towards purchases of Defendant's tickets/passes, submit an electronic form to

inquire about and book group events, submit an electronic contact form to get in contact with

and/or be contacted by the physical theme park, fill out and sign an electronic liability waiver form

required for some events and experiences at the physical theme park, and sign up for a

newsletter/emailer to receive exclusive online offers, benefits, invitations, and discounts for use

online and in the physical theme park, the Website has a nexus to, and is an extension of and

gateway to, the goods, services, privileges, and advantages of Defendant’s physical park and gift

shop, which are places of public accommodation under the ADA. As an extension of and service,



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privilege, and advantage provided by a place of public accommodation as defined under the ADA,

the Website is an extension of the services, privileges, and advantages made available to the

general public by Defendant at and through its brick-and-mortar location and businesses.

Furthermore, the Website is a necessary service and privilege of Defendant’s physical theme park

and gift shop in that, as a critical point of sale for Defendant’s park and gift shop, it enables users

of the Website to make online purchases of Defendant’s tickets, passes, and merchandise that are

also available for purchase in, from, and through the physical theme park and gift shop.

       15.     Because the public can view and purchase Defendant’s tickets, passes, and

merchandise through the Website that are also offered for sale in, from, and through Defendant’s

physical theme park and gift shop, thus having the Website act as a critical point of sale for

Defendant’s tickets, passes, and merchandise that are also sold in, from, and through the physical

theme park and gift shop, purchase photos and videos taken on visits to the physical theme park,

obtain exclusive coupons to be used towards purchases of Defendant's tickets/passes, submit an

electronic form to inquire about and book group events, submit an electronic contact form to get

in contact with and/or be contacted by the physical theme park, fill out and sign an electronic

liability waiver form required for some events and experiences at the physical theme park, and

sign up for a newsletter/emailer to receive exclusive online offers, benefits, invitations, and

discounts for use online and in the physical theme park, the Website is an extension of, and

gateway to the physical theme park and gift shop, which are places of public accommodation

pursuant to the ADA, 42 U.S.C. §12181(7)(E) and (I). As such, the Website is a necessary service,

privilege, and advantage of Defendant’s brick-and-mortar theme park and gift shop that must

comply with all requirements of the ADA, must not discriminate against individuals with visual

disabilities, and must not deny those individuals the same full and equal access to and enjoyment



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of the goods, services, privileges, and advantages afforded the non-visually disabled public both

online and in the physical theme park and gift shop.

       16.     At all times material hereto, Defendant was and still is an organization owning,

operating, and/or controlling the Website. Since the Website is open to the public through the

internet, by this nexus the Website is an intangible service, privilege, and advantage of Defendant’s

brick-and-mortar theme park and gift shop that must comply with all requirements of the ADA,

must not discriminate against individuals with visual disabilities, and must not deny those

individuals the same full and equal access to and enjoyment of the goods, services, privileges, and

advantages as are afforded the non-visually disabled public both online and in the physical park

and gift shop. As such, Defendant has subjected itself and the Website to the requirements of the

ADA.

       17.     Plaintiff is and/or has been a customer who is interested in patronizing, and intends

to patronize in the near future once the Website’s access barriers are removed or remedied (and as

early as April 2024), Defendant’s physical theme park and gift shop and to check theme park

hours, check ticket and pass pricing, purchase tickets and passes, purchase merchandise, obtain

exclusive coupons to be used towards purchases of Defendant's tickets/passes, submit an electronic

contact form to get in contact with and/or be contacted by the physical theme park, and sign up for

a newsletter/emailer to receive exclusive online offers, benefits, invitations, and discounts for use

online and in the physical theme park. In the alternative, Plaintiff intends to revisit and monitor

the Website in the near future (as early as April 2024) as a tester to ascertain whether it has been

updated to interact properly with screen reader software.

       18.     The opportunity to shop and pre-shop Defendant’s tickets, passes, and

merchandise, obtain exclusive coupons to be used towards purchases of Defendant's tickets/passes,



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submit an electronic contact form to get in contact with and/or be contacted by the physical theme

park, and sign up for a newsletter/emailer to receive exclusive online offers, benefits, invitations,

and discounts for use online and in the physical theme park from his home are important and

necessary accommodations for Plaintiff because traveling outside of his home as a blind individual

is often a difficult, hazardous, frightening, frustrating, and confusing experience. Defendant has

not provided its business information in any other digital format that is accessible for use by blind

and visually disabled individuals using screen reader software.

       19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

his theme park visits and to compare tickets and passes, merchandise, prices, sales, services,

discounts, and promotions. Plaintiff may look at several dozen websites to compare features,

discounts, promotions, services, and prices.

       20.     Beginning in February 2024, Plaintiff attempted on a number of occasions to utilize

the Website to browse through the tickets, passes, and merchandise offerings and online offers to

educate himself as to the tickets and passes, merchandise, sales, services, discounts, and

promotions being offered, learn about the brick-and-mortar theme park and gift shop, check park

hours, and check ticket, pass, and merchandise pricing with the intent to make a purchase through

the Website or in, from, and through the physical theme park and gift shop. Plaintiff also attempted

to access and utilize the Website in his capacity as a tester to determine whether it was accessible

to blind and visually disabled persons such as himself who use screen reader software to access

and navigate company websites.

       21.     Plaintiff utilizes available screen reader software that allows individuals who are

blind and visually disabled to communicate with websites. However, Defendant’s Website

contains access barriers that prevent free and full use by blind and visually disabled individuals



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using keyboards and available screen reader software. These barriers are pervasive and include,

but are not limited to:

       a. Improperly labeled dates on the calendar for purchasing tickets; an adequate description
       for each date option is not provided;

       b. Improperly labeled text throughout the Website; the cursor skipped information and
       navigated to the nearest accessible link, button, or header. Additionally, text under
       important information is inaccessible;

       c. A logo found on the Website, which functions as a link for returning to the home page,
       that is mislabeled as “link”; no further description is provided that describes the logo’s
       purpose; and

       d. Although they were both read aloud by the screen reader software, the lack of sufficient
       description for product color and quantity.

       22.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

Website that would direct him to a webpage with contact information for disabled individuals who

have questions or concerns about, or who are having difficulties accessing, navigating, and/or

communicating with, the Website. Although the Website had an “accessibility” widget/plugin

from a third-party vendor named “UserWay” installed, that “accessibility” widget/plugin, when

activated and tested, still could not be effectively accessed by, continued to be a barrier to, and did

not provide a viable alternative means to equally access and navigate the Website for blind and

visually disabled persons, using screen reader software, including Plaintiff. Plaintiff, thus, was

unable to receive any meaningful or prompt assistance through the “accessibility” widget/plugin

to enable him to equally, quickly, fully, and effectively navigate the Website.

       23.     The fact that Plaintiff could not communicate with or within the Website left him

feeling excluded, frustrated, and humiliated, and gave him a sense of isolation and segregation, as

he is unable to participate in the same shopping experience, with the same access to the tickets,




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pass, and merchandise offerings, sales, services, discounts, and promotions, as provided at the

Website and in the physical theme park and gift shop as the non-visually disabled public.

       24.     Plaintiff desires and intends, in the near future once the Website’s access barriers

are removed or remedied, to patronize Defendant’s physical theme park and gift shop and to use

the Website, but he is presently unable to fully and equally do so as he is unable to effectively

communicate with Defendant due to his blindness and the Website’s access barriers. Alternatively,

as a tester using screen reader software, Plaintiff is unable to effectively access, navigate, and

communicate with Defendant through the Website due to his blindness and the Website’s access

barriers. Thus, Plaintiff, and others who are blind and with visual disabilities, will suffer

continuous and ongoing harm from Defendant’s intentional acts, omissions, policies, and practices

as set forth herein unless properly enjoined by this Court.

       25.     Because of the nexus between Defendant’s physical theme park and gift shop and

the Website, and the fact that the Website clearly provides support for and is connected to

Defendant’s physical theme park and gift shop for its operation and use, the Website is an

intangible service, privilege, and advantage of Defendant’s brick-and-mortar location that must

comply with all requirements of the ADA, must not discriminate against individuals with

disabilities, and must not deny those individuals the same full and equal access to and enjoyment

of the goods, services, privileges, and advantages as afforded the non-visually disabled public both

online and in the physical theme park and gift shop, which are places of public accommodation

subject to the requirements of the ADA.

       26.     On information and belief, Defendant has not initiated a Web Accessibility Policy

to ensure full and equal use of the Website by individuals with disabilities.




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        27.     On information and belief, Defendant has not instituted a Web Accessibility

Committee to ensure full and equal use of Website by individuals with disabilities.

        28.     On information and belief, Defendant has not designated an employee as a Web

Accessibility Coordinator to ensure full and equal use of the Website by individuals with

disabilities.

        29.     On information and belief, Defendant has not instituted a Web Accessibility User

Accessibility Testing Group to ensure full and equal use of the Website by individuals with

disabilities.

        30.     On information and belief, Defendant has not instituted a User Accessibility

Testing Group to ensure full and equal use of the Website by individuals with disabilities.

        31.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

        32.     On information and belief, Defendant has not instituted an Automated Web

Accessibility Testing program.

        33.     Defendant has not created and instituted a useful and effective Specialized

Customer Assistance line or service or email contact mode for customer assistance for the visually

disabled.

        34.     Defendant has not created and instituted on the Website a useful and effective page

for individuals with disabilities, nor displayed a proper link and information hotline, nor created a

proper information portal explaining when and how Defendant will have the Website, applications,

and digital assets accessible to the visually disabled and/or blind communities.

        35.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

2.0 Level AA or higher versions of web accessibility.




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          36.   Defendant has not disclosed to the public any intended audits, changes, or lawsuits

to correct the inaccessibility of the Website to visually disabled individuals who want the safety

and privacy of purchasing Defendant’s tickets, passes, and merchandise offered on the Website

and in the physical theme park and gift shop from their homes.

          37    Defendant thus has not provided full and equal access to and enjoyment of the

goods, services, facilities, privileges, advantages, and accommodations provided by and through

the Website and the physical theme park and gift shop in contravention of the ADA.

          38.   Public accommodations under the ADA must ensure that their places of public

accommodation provide effective communication for all members of the general public, including

individuals with visual disabilities such as Plaintiff.

          39.   The broad mandate of the ADA is to provide an equal opportunity for individuals

with disabilities to participate in and benefit from all aspects of American civic and economic life.

That mandate extends to internet e-commerce websites such as the Website at issue in the instant

action.

          40.   Defendant is, and at all relevant times has been, aware of the barriers to effective

communication within the Website which prevent individuals with visual disabilities from the

means to comprehend information presented therein.

          41.   Defendant is, and at all relevant times has been, aware of the need to provide full

and equal access to all visitors to the Website.

          42.   The barriers that exist on the Website result in discriminatory and unequal

treatment of individuals with visual disabilities, including Plaintiff.

          43.   Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means



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to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

in connection with the Website’s access and operation.

       44.     Notice to Defendant is not required because of Defendant’s failure to cure the

violations.

       45.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

U.S.C. §§2201 and 2202.

       46.     Plaintiff has retained the undersigned attorneys to represent him in this case and

has agreed to pay them a reasonable fee for their services.

                                  TRESPASS VIOLATIONS

       47.     Plaintiff utilizes his computer to access websites such as the Website.

       48.     Plaintiff uses his computer as a method of conveyance of his personal information.

Plaintiff thus stores his personal information and retains his browsing history on his computer.

       49.     When a user accesses the Website, Defendant places information tracking and

gathering software on the user’s personal computer and hard drive without the user’s advance

consent or knowledge. Defendant also plants browser cookies on a user’s computer and hard drive

to identify websites that the user has previously visited by accessing the user’s web browser

history.

       50.     Although the Website does have a “Privacy Policy” linked from its home page,

Defendant does not inform the Website user that the user’s personal information and browsing

history are being collected and used for targeted marketing and advertising. Therefore, and because

of his blindness, Plaintiff was unable to comprehend the Website and thus had no choice, and

likewise no knowledge, of Defendant’s installation of data and information tracking and gathering

software on his computer and the collection of Plaintiff’s browsing history and analytics.



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       51.     Thus, through the Website, Defendant has committed a trespass against Plaintiff,

since the Website places information tracking and gathering software on the Plaintiff’s computer

without Plaintiff’s knowledge or consent.

                           COUNT I – VIOLATION OF THE ADA

       52.     Plaintiff re-alleges paragraphs 1 through 46 as if set forth fully herein.

       53.     Pursuant to 42 U.S.C. §12181(7)(E) and(I), Defendant is a public accommodation

under the ADA and thus is subject to the ADA.

       54.     Pursuant to 42 U.S.C. §12181(7)(E) and (I), the Website is covered under the ADA

because it provides the general public with the ability to locate and learn about Defendant’s

physical theme park and gift shop, purchase tickets, passes, and merchandise also available for

purchase in, from, and through the physical theme park and gift shop, purchase photos and videos

taken on visits to the physical theme park, obtain exclusive coupons to be used towards purchases

of Defendant's tickets/passes, submit an electronic form to inquire about and book group events,

submit an electronic contact form to get in contact with and/or be contacted by the physical theme

park, fill out and sign an electronic liability waiver form required for some events and experiences

at the physical theme park, and sign up for a newsletter/emailer to receive exclusive online offers,

benefits, invitations, and discounts for use online and in the physical theme park. The Website thus

is an extension of, gateway to, and intangible service, privilege, and advantage of Defendant’s

physical theme park and gift shop. Further, the Website serves to augment Defendant’s physical

theme park and gift shop by providing the public information about the physical park and gift shop

and by educating the public as to Defendant’s available tickets, passes, and merchandise sold

through the Website and in the physical theme park and gift shop.




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       55.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities an

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodation, which is equal to the opportunities afforded to other individuals.

       56.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

discrimination includes, among other things, “a failure to make reasonable modifications in

policies, practices, or procedures, when such modifications are necessary to afford such goods,

services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

unless the entity can demonstrate that making such modifications would fundamentally alter the

nature of such goods, services, facilities, privileges, advantages or accommodations.”

       57.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

discrimination includes, among other things, “a failure to take such steps, as may be necessary to

ensure that no individual with a disability is excluded, denied services, segregated or otherwise

treated differently than other individuals because of the absence of auxiliary aids and services,

unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

the good, service, facility, privilege, advantage, or accommodation being offered or would result

in an undue burden.”

       58.     Defendant’s Website must comply with the ADA, but it does not as specifically

alleged hereinabove and below.

       59.     Because of the inaccessibility of the Website, individuals with visual disabilities

are denied full and equal access to, and enjoyment of, the goods, information, and services that

Defendant has made available to the public on the Website and in the physical theme park and gift

shop in violation of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.



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       60.     The Website was subsequently visited by Plaintiff’s expert in March 2024, and

the expert determination was that the same access barriers that Plaintiff had initially encountered,

as well as numerous additional access barriers, existed. Defendant has made insufficient material

changes or improvements to the Website to enable its full and equal use and enjoyment by, and

accessibility to, blind and visually disabled persons such as Plaintiff. Also, although the expert

found that the Website appeared to have an “accessibility” widget/plugin from a third-party vendor

named “UserWay” installed, that “accessibility” widget/plugin, when activated and tested, still

could not be effectively accessed by, continued to be a barrier to, and did not provide a viable

alternative means to equally access and navigate the Website for blind and visually disabled

persons, including Plaintiff. Defendant furthermore has not disclosed to the public any intended

audits, changes, or lawsuits to correct the inaccessibility of the Website to visually disabled

individuals. Defendant thus has failed to make reasonable modifications in its policies, practices,

or procedures when such modifications are necessary to afford goods, services, facilities,

privileges, advantages, or accommodations to individuals with disabilities, in violation of 28

C.F.R. §36.302. The lack of a useful and effective “accessibility” notice, policy, or statement and

the numerous access barriers as alleged herein and as set forth in the Declaration of Plaintiff’s

expert, Robert D. Moody, attached hereto as Composite Exhibit “A” and the contents of which are

incorporated herein by reference, continue to render the Website not fully and equally accessible

to users who are blind and visually disabled, including Plaintiff.

       61.     More violations may be present on other pages of the Website, which can and will

be determined and proven through the discovery process in this case.

       62.     There are readily available, well-established guidelines on the internet for making

websites accessible to the blind and visually disabled. These guidelines have been followed by



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other large business entities in making their websites accessible. Examples of such guidelines

include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

performed using a keyboard. Incorporating such basic components to make the Website accessible

would neither fundamentally alter the nature of Defendant’s business nor would it result in an

undue burden to Defendant.

       63.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

access to the Website by individuals such as Plaintiff with visual disabilities who require the

assistance of screen reader software to comprehend and access internet websites. These violations

within the Website are ongoing.

       64.     The ADA requires that public accommodations and places of public

accommodation ensure that communication is effective.

       65.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

specifically states that screen reader software is an effective method of making visually delivered

material available to individuals who are blind or have low vision.

       66.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

appropriate auxiliary aids and services where necessary to ensure effective communication with

individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

in accessible formats, in a timely manner, and in such a way as to protect the privacy and

independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

       67.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by




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public accommodations, and requires places of public accommodation to be designed, constructed,

and altered in compliance with the accessibility standards established by Part 36.

       68.     As alleged hereinabove, the Website has not been designed to interface with the

widely and readily available technologies that can be used to ensure effective communication, and

thus violates the ADA.

       69.     As a direct and proximate result of Defendant’s failure to provide an ADA

compliant Website, with a nexus to its brick-and-mortar physical theme park and gift shop,

Plaintiff has suffered an injury in fact by being denied full and equal access to, enjoyment of, and

communication with Defendant’s Website and its physical theme park and gift shop.

       70.     Because of the inadequate development and administration of the Website, Plaintiff

is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

ongoing disability discrimination.

       71.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

Plaintiff appropriate and necessary injunctive relief, including an order to:

       a) Require Defendant to adopt and implement a web accessibility policy to make publicly

available, and directly link from the homepage of the Website, a functional statement of the

Defendant’s policy to ensure persons with disabilities have full and equal access to and enjoyment

of the goods, services, facilities, privileges, advantages, and accommodations through the Website

and the physical theme park and gift shop.

       b) Require Defendant to take the necessary steps to make the Website readily accessible

to and usable by blind and visually disabled users, and during that time period prior to the Website

being made readily accessible, provide an alternative method for individuals with visual




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disabilities to access the information available on the Website until such time that the requisite

modifications are made, and

       c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

visual disabilities will be able to effectively communicate with the Website for purposes of

viewing and locating Defendant’s physical theme park and gift shop and becoming informed of

and purchasing Defendant’s tickets, passes, and merchandise, and during that time period prior to

the Website being designed to permit individuals with visual disabilities to effectively

communicate, to provide an alternative method for individuals with visual disabilities to

effectively communicate for such goods and services made available to the general public through

the Website and the physical theme park and gift shop.

       72.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

services.

       WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

the following relief:

       A. A declaration that Defendant’s Website is in violation of the ADA;

       B. An Order requiring Defendant, by a date certain, to update the Website, and continue

             to monitor and update the Website on an ongoing basis, to remove barriers in order that

             individuals with visual disabilities can access, and continue to access, the Website and

             effectively communicate with the Website to the full extent required by Title III of the

             ADA;




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      C. An Order requiring Defendant, by a date certain, to provide ongoing support for web

         accessibility by implementing a Website accessibility coordinator, a Website

         application accessibility policy, and providing for Website accessibility feedback to

         ensure compliance thereto;

      D. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

         procedures toward persons with disabilities, for such reasonable time to allow

         Defendant to undertake and complete corrective procedures to its Website;

      E. An Order directing Defendant, by a date certain, to establish a policy of web

         accessibility and accessibility features for the Website to ensure effective

         communication for individuals who are visually disabled;

      F. An Order requiring, by a date certain, that any third-party vendors who participate on

         Defendant’s Website to be fully accessible to the visually disabled;

      G. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

         provide mandatory web accessibility training to all employees who write or develop

         programs or code for, or who publish final content to, the Website on how to conform

         all web content and services with ADA accessibility requirements and applicable

         accessibility guidelines;

      H. An Order directing Defendant, by a date certain and at least once every three months

         thereafter, to conduct automated accessibility tests of the Website to identify any

         instances where the Website is no longer in conformance with the accessibility

         requirements of the ADA and any applicable accessibility guidelines, and further

         directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

         counsel for review;



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       I. An Order directing Defendant, by a date certain, to make publicly available and directly

             link from the Website homepage, a statement of Defendant’s Accessibility Policy to

             ensure the persons with disabilities have full and equal enjoyment of the Website and

             shall accompany the public policy statement with an accessible means of submitting

             accessibility questions and problems;

       J. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses; and

       K. Such other and further relief as the Court deems just and equitable.

                                     COUNT II – TRESPASS

       73.      Plaintiff re-alleges paragraphs 1 through 51 as if set forth fully herein.

       74.      Plaintiff’s tangible personal property, being his computer and the personal

information and browsing history stored therein, has suffered a trespass by Defendant on each and

every date that the Plaintiff has accessed Defendant’s Website, due to Defendant’s employment of

information tracking and gathering software and analytics which are present on and throughout the

Website.

       75.      At all relevant times, Plaintiff did not consent to and was unaware that the Website

was placing the information tracking and gathering software on his computer and its hard drive

due to his blindness and his inability to effectively communicate with and fully and equally access

and navigate the Website.

       76.      Plaintiff did not consent to the placement of information tracking and gathering

software on his computer and its hard drive; therefore, Defendant has committed a trespass against

Plaintiff by placing such software on his computer and its hard drive without his knowledge or

consent.




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        77.     By the acts described hereinabove, Defendant has repeatedly and persistently

engaged in trespass of Plaintiff’s personal property in violation of Florida common law against

trespass to chattel.

        78.     Defendant’s installation, operation, and execution of information tracking and

gathering software on Plaintiff’s computer have directly and proximately impaired the condition

and value of the Plaintiff’s computer, thereby causing Plaintiff damages.

        79.     The Website has a “Privacy Policy” that discusses the automatic gathering of

information from and the automatic placement of cookies and other information gathering software

on, computers of users of the Website, such as Plaintiff. A copy of that “Privacy Policy” is attached

hereto as Exhibit “B” and its contents are incorporated herein by reference.

        80.     Defendant’s trespass to chattel, nuisance, and interference has caused real and

substantial damage to Plaintiff as follows:

        a)    By consuming the resources of and/or degrading the performance of Plaintiff’s

computer (including space, memory, processing cycles, and internet connectivity);

        b) By infringing on Plaintiff’s right to exclude others from his computer;

        c) By infringing on Plaintiff’s right to determine, as the owner of his computer, which

programs should be installed and operated on his computer;

        d) By compromising the integrity, security, and ownership of Plaintiff’s computer; and

        e) By forcing Plaintiff to expend money, time, and resources in order to remove the

programs that had been installed on his computer without notice or consent.

        81.     Defendant’s actions were taken knowingly, willfully, intentionally, and in reckless

disregard for Plaintiff’s rights under the law.




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       WHEREFORE, Plaintiff demands a judgment be entered against Defendant for all of

Plaintiff’s compensatory damages, interest, costs, and such further relief as the Court deems just

and equitable.

       DATED: March 25th , 2024.

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